8:14-cr-00409-BCB-MDN       Doc # 343    Filed: 06/22/17    Page 1 of 1 - Page ID # 2311




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:14CR409
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
DILANG DAT,                                 )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s pro se Motion under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody, ECF

No. 342.

      Dat is represented by retained counsel, who is actively engaged in the proceedings.

On June 8, 2017, Dat’s retained counsel requested and received a transcript of the

sentencing proceedings. See ECF Nos. 337, 338. Accordingly, Dat’s pro se motion will

be denied, without prejudice to re-submission. If Dat no longer wishes to be represented

by his retained counsel he should communicate that intention directly to counsel, who may

then move for permission to withdraw.

      IT IS ORDERED:

      1. Defendant Dilang Dat’s pro se Motion under 28 U.S.C. § 2255 to Vacate, Set

      Aside, or Correct Sentence by a Person in Federal Custory, ECF No. 342, is

      denied without prejudice to re-submission; and

      2. The Clerk will send a copy of this Order and the Order appearing at ECF No.

      340 to the Defendant as his last known address.

      DATED this 22nd day of June, 2017.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Chief United States District Judge
